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                    UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION

MOSES SINGLETON,

      Plaintiff,
                                                Case No. 1:24-cv-01281-JPB-JKL
v.

FIRST PREMIER BANK; STELLANTIS
FINANCIAL SERVICES, INC.; LOCKHART,
MORRIS, & MONTGOMERY INC.; NCB
MANAGEMENT SERVICES, INC.; EXPERIAN
INFORMATION SOLUTIONS, INC.; and
TRANSUNION, LLC,

      Defendants.
                                           /

       NOTICE OF PENDING SETTLEMENT AS TO DEFENDANT,
              NCB MANAGEMENT SERVICES, INC.’S

      Defendant, NCB Management Services, Inc. (NCB), through undersigned

counsel, hereby submits this Notice of Pending Settlement and states plaintiff,

Moses Singleton, and NCB have reached a settlement regarding this case and are

presently drafting, finalizing, and executing the formal settlement documents. The

parties will file the appropriate dismissal documents with the Court when

appropriate.

Date: June 24, 2024
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                                       Respectfully submitted,

                                       /s/ Kirsten H. Smith
                                       Kirsten H. Smith, Esq.
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                                       Telephone: (504) 846-7943
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                                       Counsel for Defendant
                                       NCB Management Services, Inc.


                         CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that on June 24, 2024, a copy of the foregoing was filed

electronically via CM/ECF system. Notice of this filing will be sent to the parties

of record by operation of the Court’s electronic filing system, including plaintiff’s

counsel as described below.

                                Esther Nneka Oise
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                               Snellville, GA 30078
                               oiselaw@gmail.com


                                       /s/ Kirsten H. Smith
                                       Attorney




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